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 8
                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
10

11
     In re Google RTB Consumer Privacy          CASE NO. 4:21-cv-02155-YGR
12   Litigation,

13                                              JOINT STIPULATION AND [PROPOSED]
                                                ORDER EXTENDING DEADLINE FOR
14                                              FILING A MOTION FOR APPROVAL OF
     This Document relates to: all actions.     CLASSWIDE SETTLEMENT
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     JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING DEADLINE FOR FILING A MOTION FOR
     APPROVAL OF CLASSWIDE SETTLEMENT                               21-CV-02155-YGR-VKD
     Case 4:21-cv-02155-YGR            Document 770         Filed 07/07/25       Page 2 of 4




 1          On May 7, 2025, the undersigned filed a Notice of Proposed Settlement (“Notice”), informing

 2 the Court that the parties had reached a settlement in principle to resolve the litigation on a classwide

 3 basis. (ECF No. 766). In that Notice, the parties advised that they are actively negotiating formal

 4 settlement documentation and that they anticipated filing a motion for approval of the settlement on

 5 or before July 11, 2025. (Id.).

 6          On May 14, 2025, at the parties’ joint request, the Court entered an order vacating all case

 7 deadlines, to allow the parties to complete their formal settlement documentation efforts. (ECF No.

 8 768). That order set July 11, 2025 as the deadline for filing a motion for settlement approval of the

 9 classwide settlement. (Id.)
10          The parties have worked diligently and have continued to confer among themselves and with
11 the mediator to finalize the settlement documentation, and to prepare for the filing of a settlement

12 approval motion. Despite these diligent efforts, because some aspects of the parties’ settlement

13 discussions require review and participation by multiple stakeholders, additional time is needed for

14 the parties to complete this process.

15          In light of the foregoing, the parties jointly request that the Court extend the deadline for filing
16 a motion for settlement approval by approximately three weeks, from July 11, 2025 to July 31, 2025.

17 Dated: July 3, 2025

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     PRITZKER LEVINE LLP                                             COOLEY LLP
19
     By: /s/ Elizabeth C. Pritzker______                             By: /s/ Whitty Somvichian
20
     Elizabeth C. Pritzker (SBN 146267)                              Whitty Somvichian (SBN 194463)
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     Bethany Caracuzzo (SBN 190687)                                  Reece Trevor (SBN 316685)
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     JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING DEADLINE FOR FILING A MOTION FOR
     APPROVAL OF CLASSWIDE SETTLEMENT                               21-CV-02155-YGR-VKD
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 1                                       [PROPOSED] ORDER

 2         Having considered the parties’ stipulation, the Court extends the deadline for filing a motion

 3 for settlement approval in this matter, from July 11, 2025 to July 31, 2025.

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 5 SO ORDERED.

 6
              July 7
     Dated: __________, 2025
 7                                                  HON. YVONNE GONZALEZ ROGERS
                                                    UNITED STATES DISTRICT COURT JUDGE
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     JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING DEADLINE FOR FILING A MOTION FOR
     APPROVAL OF CLASSWIDE SETTLEMENT                               21-CV-02155-YGR-VKD
     Case 4:21-cv-02155-YGR          Document 770        Filed 07/07/25      Page 4 of 4




 1                                          ATTESTATION

 2
           I, Bethany Caracuzzo, attest that concurrence in the filing of this document has been obtained
 3

 4 from the other signatories. Executed on July 3, 2025 in Emeryville, California.

 5                                                              /s/ Bethany Caracuzzo
                                                                Bethany Caracuzzo
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     JOINT STIPULATION AND [PROPOSED] ORDER EXTENDING DEADLINE FOR FILING A MOTION FOR
     APPROVAL OF CLASSWIDE SETTLEMENT                               21-CV-02155-YGR-VKD
